               Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                        Desc
                                                         Main Document    Page 1 of 49


Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number    (if known)                                                   Chapter     11
                            - - - - - -- - - - -- - - - -
                                                                                                                        D   Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.   Debtor's name                Megna Temecula Country Inn, Inc.

 2.   All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names


 3.   Debtor's federal
      Employer Identification      XX-XXXXXXX
      Number (EIN)


 4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                 business

                                   8740 Winnetka Ave
                                   Northridge, CA 91324
                                   Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                   Los Angeles                                                   Location of principal assets, if different from principal
                                   County                                                        place of business
                                                                                                 41300 Berkswell Lane, Temecula, CA 92592
                                                                                                 Number, Street, City, State & ZIP Code


 5.   Debtor's website (URL)


 6.   Type of debtor               ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                   D   Partnership (excluding LLP)
                                   D   Other. Specify:




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                 Case 1:23-bk-10843-VK                            Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                           Desc
                                                                  Main Document    Page 2 of 49

Debtor       Megna Temecula Country Inn, Inc.                                                               Case numbe r (if known)
             Name



7.      Describe debtor's business        A. Check one:
                                          D    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          D    Single Asset Real Estate (as defined in 11 U.S .C. § 101 (51 B))
                                          D    Railroad (as defined in 11 U.S.C . § 101(44))
                                          D    Stockbroker (as defined in 11 U.S.C . § 101(53A))
                                          D    Commodity Broker (as defined in 11 U.S.C. § 101 (6))
                                          D    Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ■ None of the above

                                          B. Check a/I that apply
                                          D Tax-exempt entity (as described in 26 U.S.C. §501)
                                          D Investment company . including hedge fund or pooled investment vehicle (as defined in            15 U.S .C. §80a-3)
                                          D Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts .gov/four-digit-national-association-naics-codes .
                                                    5311

8.      Under which chapter of the        Check one:
        Bankruptcy Code is the
        debtor filing?
                                          D    Chapter 7

        A debtor who is a "small          D
                                          Chapter9
        business debtor" must check
                                        ■ Chapter 11 . Check all that apply:
        the first sub-box. A debtor as
        defined in§ 1182(1) who                           D The debtor is a small business debtor as defined in 11 U.S.C . § 101(510), and its aggregate
        elects to proceed under                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
        subchapter V of chapter 11                              $3,024 ,725. If this sub-box is selected, attach the most recent balance sheet, statement of
        (whether or not the debtor is a                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
        "small business debtor'") must                          exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
        check the second sub-box.
                                                          ■ The debtor is a debtor as defined in 11 U.S.C . § 1182(1), its aggregate noncontingent liquidated
                                                                debts (excluding debts owed to insiders or affiliates) are less than $7,500 ,000, and it chooses to
                                                                proceed under Subchapter V of Chapter 11 . If this sub-box is selected , attach the most recent
                                                                balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S .C. § 1116(1 )(B) .
                                                                   D   A plan is being filed with this petition .
                                                                   D   Acceptances of the plan were solicited prepetition from one or more classes of creditors , in
                                                                       accordance with 11 U.S .C. § 1126(b).
                                                                   D   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                       Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                       Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                       (Official Form 201A) with this form .
                                                                   D   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           D    Chapter 12

 9.      Were prior bankruptcy
                                           ■ No .
         cases filed by or against
         the debtor within the last 8      D   Yes .
         years?
         If more than 2 cases, attach a
         separate list.                                District                                  When                                 Case number
                                                                  - - - -- - - - - --                     - - -- - - --
                                                       District
                                                                  - ---------                    When
                                                                                                          - - - -- - - - Case             number




     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                 Case 1:23-bk-10843-VK                            Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                             Desc
                                                                  Main Document    Page 3 of 49
Debtor    Megna Temecula Country Inn, Inc.                                                                 Case number (if known)
          Name                                                                                                                      ----------------
10. Are any bankruptcy cases                □ No
    pending or being filed by a
    business partner or an                  ■ Yes.
    affiliate of the debtor?




     List all cases . If more than 1,
     attach a separate list                          Debtor      See Attachment                                                 Relationship
                                                      District                                  When                            Case number, if known
                                                                 - - -- -- - -- -                       - - - - - - --

11 . Why is the case filed in           Check all that apply:
     this district?
                                        ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                               preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                        D      A bankruptcy case concerning debtor's affiliate , general partner, or partnership is pending in this district.


12. Does the debtor own or
                                        ■ No
    have possession of any
    real property or personal           D   Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed .
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                     D   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety .
                                                         What is the hazard?

                                                     D   It needs to be physically secured or protected from the weather.

                                                     D    It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example ,
                                                         livestock, seasonal goods, meat, dairy, produ ce, or securities-related assets or other options).
                                                     D   Other
                                                     Where is the property?
                                                                                       Number, Street, City, State & ZIP Code
                                                     Is the property insured?

                                                     □ No
                                                     D   Yes.    Insurance agency
                                                                 Contact name
                                                                 Phone



           Statistical and administrative information

 13. Debtor's estimation of                        Check one:
     available funds
                                                   ■ Fund s will be available for distribution to unsecured creditors .
                                                   D After any administrative expenses are paid,     no funds will be available to unsecured creditors .


 14. Estimated number of
                                         ■ 1-49                                             □ 1,000-5 ,000                             □ 25,001-50,000
     creditors                                                                              □ 5001-10,000                               □ 50 ,001-100,000
                                         □ 50-99
                                         □ 100-199                                          □ 10,001 -25,000                            D   More than100 ,000
                                         □ 200-999


 15. Estimated Assets                    □ $0 - $50,000                                     ■ $1 ,000 ,001 - $10 million                D   $500,000 ,001 - $1 billion
                                         □ $50,001 - $100,000                               D $10,000,001 - $50 million                 D   $1,000,000,001 - $10 billion
                                         □ $100,00 1 - $500,000                             D $50,000,001 - $100 million                D   $10,000,000,001 - $50 billion
                                         D $500,001 - $1 milli on                           D $100,000,001 - $500 million               D   More than $50 billion


 16. Estimated liabilities               □ $0 - $50,000                                     ■ $1,000,001 - $10 million                  D   $500,000,00 1 - $1 billion


  Official Form 20 1                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
                Case 1:23-bk-10843-VK              Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                       Desc
                                                   Main Document    Page 4 of 49
Debtor   Megna Temecula Country Inn, Inc.                                              Case number (ii known)
         Name
                                                                                                                - - - -- -- -- - -- - -

                           □ $50,001 - $100,000                        D   $10,000,001 - $50 milli on             D $1 ,000 ,000,001 - $1 o billion
                            □ $100,001 - $500,000                      D   $50,000,001 - $100 million             D $10,000 ,000,001 - $50 billion
                            D   $500,001 - $1 million                  □ $100,000,001 - $500 million              D More than $50 billion




  Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page4
                Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                              Desc
                                                          Main Document    Page 5 of 49
Debtor    Megna Temecula Country Inn, Inc.                                                          Case number (if known)
         Name



          Request for Relief, Declaration, and Signatures


WARNING •· Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years , or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571 .

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11 , United States Code , specified in this petition .
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       June 16, 2023
                                                    MM/ DD/YYYY


                              X     See attached signature page                                             Mahmud Ulkarim
                                  Signature of authorized representative of debtor                          Printed name

                                  Title   President




18. Signature of attorney     X                                                                                Date June 16, 2023
                                  Signature of attorney for                                                         MM/ DD /YYYY

                                  Mark T. Young
                                  Printed name

                                  Donahoe Young & Williams LLP
                                  Firm name

                                  25152 Springfield Court, Ste. 345
                                  Valencia, CA 91355-1081
                                  Number, Street, City, State & ZIP Code


                                  Contact phone       661-259-9000                  Email address      myoung@dywlaw.com


                                  89951 CA
                                   Bar number and State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                 Case 1:23-bk-10843-VK                                        Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20   Desc
                                                                              Main Document    Page 6 of 49

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                  Case 1:23-bk-10843-VK                 Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                       Desc
                                                        Main Document    Page 7 of 49

Debtor     Megna Temecula Country Inn, Inc.                                                  Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the :

CENTRAL DISTRICT OF CALIFORNIA

Case number   /if known)                                                  Chapter     11
                           - - - - - - - - -- -- -- - -
                                                                                                                      D   Check if this an
                                                                                                                          amended filing




                                                        FORM 201. VOLUNTARY PETITION

                                                     Pending Bankruptcy Cases Attachment



Debtor     Megna Real Estate Holdings, Inc.                                         Relationship to you               Affiliate
           Central District of California (San
District   Fernando Valley)                            When     1/03/20             Case number, if known             1:20-bk-10010-05
Debtor     Megna Real Estate Investments, Inc.                                      Relationship to you               Affiliate
           Central District of California (San
District   Fernando Valley)                            When     6/12/23             Case number, if known             1:23-bk-10809-MB
Debtor     Megna Temecula Hacienda De Endar Inn, Inc.                               Relationship to you               Affiliate
           Central District of California (San
District   Fernando Valle}'}                           When     6/16/23             Case number, if known




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 6
           Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                        Desc
                                                     Main Document    Page 8 of 49




Fill in this information to identify the case:

Debtor name     Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                           D   Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011 .

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both . 18 U.S.C . §§ 152, 1341 ,
1519, and 3571 .



              Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and co rrect:

       ■       Schedule AJB: Assets-Real and Personal Property (Official Form 206A/B)
       ■       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       ■       Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
       ■       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
       ■       Schedule H: Codebtors (Official Form 206H)
       ■       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
       D       Amended Schedule
       ■       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
       ■       Other document that requires a declaration       Statement of Financial Affairs

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 16, 2023                   x     See attached signature page
                                                             Signature of individual signing on behalf of debtor

                                                             Mahmud Ulkarim
                                                             Printed name

                                                             President
                                                             Position or relationship to debtor




Official Form 202                                    Declaration Under Penalty of Perjury for Non-Individual Debtors
                  Case 1:23-bk-10843-VK                                                 Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                                                                  Desc
                                                                                        Main Document    Page 9 of 49




'                                                                                             .                                                                 ..               .
Ftll in this informillion to identify the c,lsa:                                                                                              . ,. .                      -
                                                                              I
Debtor name             Megna Temecula Country                               1pn, Inc.
    United States Bankruptcy Court for the                         CENT~L DISTRICT OF CALIFORNIA

    Case number (if known)
                                                                                                                                                                                                       O Check If \his Is an
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Official Form 202
_(lecl!'..r~_!!on Under Pen~lty of Perjury for Non~ll)~lvidual Debtors                                                                                                                                                                       12115
                                                                               !
An lndlvioual who Is autllorlz.ed to act on behdlf of a non-individual de~tor, such as a corporation or partner$hip, 111uist slgn and !llubmit th!$
form for the schedules of assets and llabllltle&, any other document that requires a declaration that Is not included in the doournent, and any
amen~menw of thoE>a documant,;, Thi1:; form IT)Uat state the lndivlduel'!i pt:1sltlon or relationehlp to th11 debtor, the Identity of th~ document,
and the date. Bankruptcy RulH 1008 and 9011 ·

    WARNING •• Bankruptcy fraud is s sorious crime. Making II false $tatement, concealing property, or obtaining money or property by fraud In
    connection with a bankruptcy ease ean result '.ln fin&$ up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1!519, ;md 3571.                                                              I

    -                 Declaration and slgnatura

            I am the president, another officer, or an a(1thorized agent of the corporation; a member or an authorized agent of the pt1Merehlp; or another
            Individual serving as a repre1;fnt11tlve of                     lhf
                                                           debtor in this case.
                                                                                  ;
            1have examined the information in the docit.iments checked below and I have a reasonable belier thet the information is true and correct:


             •         Schedule NB: Assets- Real and Fforsonal Property (Clfllc:ial Form 206AIB)

             ••        Schedule D: Creditors Who HaveiClaims Secured by Property (Oftlclal Form 206D)
                                                                                  I

                        Sr.hedule IE/F: Creditors Who Ha~ Unsecured Claims (Official Form 20GE/F)

              •••     · Schedule G: Executory Contraots!and UMxp/red /..eases (Official Form 206G)

             •          Schedule H: Codeblors (Offlclal ~orm 206H)
             :• ::> Summery of Assets and Llabllitief for Non-lndlv/dus/a (Official Form 201SSum)
            i 0• .•    Amended Sr::hadulfl                     :
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                      Tcnlilpter 11 or Chapter_9_C_a_s-es_:..;L-;11-ta

              ■        •Other document tllat requires a d~claratlon                                    Statement of Financial Affairs
                                                                                   ij                - - - - - - - - - - -.,,.,.,..,,,.-"'~
                                                                                                                           - -••"~          -·.,••'-
                                                                                                                                                   ° .....- - - - - - - - - - -- --
             I declare under penalty of perjury \hat the raregoing la true and correct.                                                                 .,,,.,,,.

              Executedon               June16,2023                                 i         X ,.,/~~,,~~--,--.,..---- -- - - ~ - - - - - - - -
                                                                                   :              - s \ g i j j d ~ ~ n behalf of debtor

                                                                                                  Mat11nud Ulkarlm
                                                                                                  Printed name

                                                                                                   President
                                                                                                   f>osltlon or relitionship to debt1:1,




        Official Form 202                                                               Declaration Under Penalty of Perjury for Non-Individual Debtors
               Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                        Desc
                                                         Main Document    Page 10 of 49



Debtor name Megna Temecula Country Inn, Inc.
United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                              □    Check if this is an
                                        CALIFORNIA
Case number (if known) :                                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and        Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address,   and email address of   (for example , trade           is contingent,     If the claim is fully unsecured , fill in only unsecured claim amount. If
including zip code          creditor contact       debts, bank loans ,           unliquidated, or    claim is partially secured , fill in total claim amount and deduction for
                                                   professional services,            disputed        value of collateral or setoff to calculate unsecured claim .
                                                   and government                                    Total claim , if           Deduction for value         Unsecured claim
                                                   contracts)                                        partially secured          of collateral or setoff
Center Street                                         Single Family     Disputed                         $6,582,107.87              $3,100,000.00              $3,536,973.87
Lending VIII SPE,                                     Residence located
LLC                                                   at:
18301 Von Karman                                      41300 Berkswell
Ave., Ste. 330                                        Lane
Irvine, CA                                            Temecula, CA
92612-0124                                            92592
                                                      APN: 951-070-017




Official form 204                         Chapter 11 or Chapter 9 Cases : List of Creditors Who Have the 20 Larg est Unsecured claims                                 page 1
          Case 1:23-bk-10843-VK                        Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                Desc
                                                       Main Document    Page 11 of 49

                                                      United States Bankruptcy Court
                                                             Central District of California
 In re    Megna Temecula Country Inn, Inc.                                                                        Case No.
                                                                                Debtor(s)                         Chapter         11

                                                 LIST OF EQUITY SECURITY HOLDERS

Following is the li st of the Debtor's equity security holders which is prepared in accordance with rule l007(a)(3) for filin g in this Chapter 11 Case


Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
 Mahmud Ulkarim                                             Common                 1,000,000                                 100% Shareholder
 8740 Winnetka Avenue
 Northridge, CA 91324


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of pe1jury that I have
read the foregoing List of Equity Security Holders and that it is trne and correct to the best of my infonnation and belief.



 Date     June 16, 2023                                                   Signature         See attached signature page
                                                                                         Mahmud Ulkarim

                   Penalty for making a false statement of concealing property: Fine of up to $5 00,000 or imprisonment for up to 5 years or both.
                                                                     18 U.S.C. §§ 152 and 357 1.




 Sheet 1 of 1 in List of Equity Security Holders
                           Case 1:23-bk-10843-VK                                                                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                                                     Desc
                                                                                                                       Main Document    Page 12 of 49                                                                                                                        i
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      Case 1:23-bk-10843-VK                         Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                      Desc
                                                    Main Document    Page 13 of 49



Attorney or Party Name, Add re ss, Telephone & FAX Nos ., and State Bar No. &        FOR COURT USE ON LY
Email Address
Mark T. Young
25152 Springfield Court, Ste. 345
Valencia, CA 91355-1081
661-259-9000 Fax: 661-554-7088
California State Bar Number: 89951 CA
myoung@dywlaw.com




~ Attornev for: Mei:ina Temecula Country Inn, Inc.

                                                  UNITED STATES BANKRUPTCY COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                           CASE NO.:
          Megna Temecula Country Inn, Inc.                                       ADVERSARY NO. :
                                                                     Debtor(s} , CHAPTER: 11

                                                                    Plaintiff(s} ,
                                                                                      CORPORATE OWNERSHIP STATEMENT
                                                                                         PURSUANT TO FRBP 1007(a)(1)
                                                                                           and 7007.1, and LBR 1007-4

                                                                                                                     [No hearing]
                                                                 Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007. 1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation 's equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

 I,   Mahmud Ulkarim                                                             , the undersigned in the above-captioned case, hereby declare
                   (Print Name of Attorney or Declarant)
 under penalty of perjury under the laws of the United States of America that the following is true and correct:




                  This form is optional. It has been approved for use by the United States Ban kruptcy Court for the Central District of California .
December2012                                                                                                    F 1007-4.CORP.OWNERSHIP.STMT
          Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                     Desc
                                                     Main Document    Page 14 of 49



[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
            0 I am the president or other officer or an authorized agent of the Debtor corporation
            D I am a party to an adversary proceeding
            D I am a party to a contested matter
            D I am the attorney for the Debtor corporation
2.a.        D The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation 's(s') equity interests:
                [For additional names, attach an addendum to this form .]
     b.     0   There are no entities that directly or indirectly own 10% or more of any class of the corporation's equity interest.

 June 16, 2023                                                                            By:       See attached signature page
 Date                                                                                             Signature of Debtor, or attorney for Debtor

                                                                                          Name:         Mahmud Ulkarim for Megna Temecula
                                                                                                        Country Inn, Inc.
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




                   This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California .
 oecember2012                                                                                                    F 1007-4.CORP.OWNERSHIP.STMT
Case 1:23-bk-10843-VK   Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20   Desc
                        Main Document    Page 15 of 49
          Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                       Desc
                                                      Main Document    Page 16 of 49



                              STATEMENT OF RELATED CASES
                           INFORMATION REQUIRED BY LBR 1015-2
            UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1.   A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor is a director, officer, or person in control , as follows : (Set forth the complete number
     and title of each such of prior proceeding, date filed , nature thereof, the Bankruptcy Judge and court to whom
     assigned , whether still pending and , if not, the disposition thereof. If none, so indicate. Also , list any real property
     included in Schedule A/B that was filed with any such prior proceeding(s).)
1. Debtor's principal Mahmud Ulkarim filed a Chapter 13 case on 1/8/1999 (Central District of California, Case No.
1:99-bk-10262-EC , Hon. Ellen Carroll) . Case was dismissed on 1/19/1999 and closed on 2/17/1999 . Real property on
Schedule A: 6846 Quakertown Ave., Canoga Park, CA 91306.

 2. Megna Real Estate Holdings, Inc. (an affiliate of Debtor controlled by Mr. Ulkarim) filed Chapter 11 on 1/30/2020 (Central
 District of California, Case No. 1:20-bk-10010-DS, Hon. Deborah J. Saltzman). That case remains pending. Real property on
 Schedule A: 3751 Lankershim Blvd., Studio City, CA 90068.

 3. Megna Bell Gardens Office Complex, Inc. (an affiliate of Debtor controlled by Mr. Ulkarim) filed Chapter 11 on 2/14/2022
 (Central District of California, Case No. 1:22-bk-10170-VK, Hon. Victoria S. Kaufman). That case was dismissed on 6/23/22
 and closed on 9/9/2022. Real property on Schedule A: 21011 Gresham St. #5, Canoga Park, CA 91304.

 4. Megna Real Estate Investments, Inc. (an affiliate of Debtor controlled by Mr. Ulkarim) filed Chapter 11 on 6/12/2023
 (Central District of California, Case No. 1 :23-bk-10809-MB, Hon. Martin R. Barash). That case remains pending. Real property
 on Schedule A: 705 Yarmouth Road, Palos Verdes Estates, CA 90274.

 5. Megna Temecula Hacienda De Endar Inn, Inc. (an affiliate of Debtor controlled by Mr. Ulkarim) concurrently filed Chapter
 11 (Central District of California, That case remains pending. Real property on Schedule A: 35438 De Portola Road,
 Temecula, CA 90274.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows : (Set forth the
   complete number and title of each such prior proceeding , date filed, nature of the proceeding , the Bankruptcy Judge
   and court to whom assigned , whether still pending and , if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 N/A

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
    previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows : (Set forth the complete number and title of each
    such prior proceeding , date filed , nature of proceeding , the Bankruptcy Judge and court to whom assigned , whether
    still pending , and if not, the disposition thereof. If none, so indicate. Also , list any real property included in Schedule
    A/B that was filed with any such prior proceeding(s) .)
 See Item 1 Above

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding , date filed , nature of proceeding , the Bankruptcy Judge and court to whom assigned , whether still
   pending , and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s) .)
 N/A


 I declare, under penalty of perjury , that the foregoing is true and correct.


                  This fo rm is mandatory. It has been approved fo r use in the United States Bankru ptcy Court fo r the Central District of California.

 October 2018                                                              Page 1                F 1015-2.1 .STMT.RELATED.CASES
        Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                     Desc
                                                    Main Document    Page 17 of 49


Executed at _V_a_le_n_c_i_a_ _ _ _ _ _ _ _ _ _ , California.                                        See attached signature page
                                                                                                   Mahmud Ulkarim
Date:          June 16, 2023                                                                       Signature of Debtor 1



                                                                                                    Signature of Debtor 2




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California .

October 2018                                                             Page 2               F 1015-2.1.STMT.RELATED.CASES
                       Case 1:23-bk-10843-VK                                                                                Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                               Desc
                                                                                                                            Main Document    Page 18 of 49


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             Case 1:23-bk-10843-VK                                                Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                                    Desc
                                                                                  Main Document    Page 19 of 49

Fill in this information to identify the case:

Debtor name             Megna Temecula Country Inn , Inc.

United States Bankruptcy Court for the:                           CENTRAL DISTRICT OF CALIFORNI A

Case number (if known)
                                                                                                                                                                               D       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

i:fflilM Summary of Assets
1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
            Copy line 88 from Schedule AIB                                                                                                                                              $         3,100,000.00

       1b. Total personal property:
            Copy line 91A from Schedule A/8 .. .. ... .. .... ... ..... .... ... .... ... .. ........ .... ................. ............... ... ............ ........... ..            $              2,827.30
                                                                                                                                                                                             - - -- - -- -
       1c. Total of all property:
            Copy line 92 from Schedule A/8 ... ...                                                                                                                                      $         3,102,827.30
                                                                                                                                                                                             - - - - - - --

i:fflitW Summary of Liabilities
 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D. ...... ... ........... ... ... ....... .                                             $        6,636,973.87
                                                                                                                                                                                             --------

 3.    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F.                                                                                                               $                     0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F... .................................. .                                                     +$                      0.00
                                                                                                                                                                                             --------

 4.    Total liabilities .............................................. ... ... .. ... .. ......... .. ................... ... ............ .. ........ .... ...... .
       Lines 2 + 3a + 3b                                                                                                                                                           $            6,636,973.87
                                                                                                                                                                                       --------




  Official Form 206Sum                                                   Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
 Software Copyrig ht (c) 1996-2023 Best Case. LLC - www.bestcase.com
             Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                   Desc
                                                        Main Document    Page 20 of 49

Fill in this information to identify the case:

Debtor name          Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the :      CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                    □       Check if this is an
                                                                                                                                            amended filing




Official Form 206A/B
Schedule A/8: Assets - Real and Personal Property                                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B , list any executory contracts
or unexpired leases . Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G) .

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form . At the top of any pages added, write
the debtor's name and case number (if known) . Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

  For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
  schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
  debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
-              Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      D   No. Go to Part 2.
      ■ Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of
                                                                                                                                             debtor's interest

 3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
             Name of institution (bank or brokerage firm)         Type of account                                Last 4 digits of account
                                                                                                                 number


             3. 1.   Chase Bank                                           Checking                                8632                                     $1,127.30



 4.          Other cash equivalents (Identify all)


 5.          Total of Part 1.                                                                                                                           $1,127.30
             Add lines 2 through 4 (i ncluding amounts on any additional sheets) . Copy the total to line 80 .

llilllll Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      ■ No. Go to Part 3.
      D Yes Fill in the information below.


llilllll Accounts receivable
10. Does the debtor have any accounts receivable?

      ■ No. Go to Part 4.
      D Yes Fill
               in the information below.


-           Investments
13. Does the debtor own any investments?

      ■ No. Go to Part 5.
      D Yes Fill
               in the information below.
 Official Form 206A/B                                   Schedule A/B Assets - Real and Personal Property                                                          page 1
                 Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                        Desc
                                                             Main Document    Page 21 of 49

    Debtor           Megna Temecula Country Inn, Inc.                                                Case numbe r   (If known) _ _ __   _ _ _ __ _ _ _ __
                     Name




-                    Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

         ■ No . Go to Part 6.
         D Yes Fill in the information below.

-                    Farming and fishing-related assets (other than titled motor vehicles and land)
27 . Does the debtor own or lease any farming and fishing-re lated assets (other than titled motor vehicles and land)?

         ■ No. Go to Part 7.
         D Yes Fill
                  in the information below.


-                    Office furniture, fixtures , and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         D No.    Go to Part 8.
         ■ Yes Fill in the information below.

                General description                                               Net book value of           Valuation method used       Current value of
                                                                                  debtor's interest           for current value           debtor's interest
                                                                                  (Where available)

    39.         Office furniture
                Desks and Chairs                                                                    $0.00     Comparable sale                           $500.00



    40.         Office fixtures

    41.         Office equipment, including all computer equipment and
                communication systems equipment and software
                Computer                                                                            $0.00     Comparable sale                         $1,200.00



    42.          Collectibles Examples: Antiques and figurines; paintings , prints , or other artwork;
                 books , pictures , or other art objects; china and crystal; stamp, coin , or baseball card
                 collections; other collections , memorabilia , or collectibles


    43.          Total of Part 7.                                                                                                                    $1,700.00
                 Add lines 39 through 42. Copy the total to line 86.                                                                                              1

    44.          Is a depreciation schedule available for any of the property listed in Part 7?
                 ■ No
                 D Yes
        45.      Has any of the property listed in Part 7 been appraised by a professional within the last year?
                 ■ No
                 D   Yes

    -                 Machinery, equipment, and vehicles
    46. Does the debtor own or lease any machinery, equipment, or vehicles?

          ■ No . Go to Part 9.
          D   Yes Fill in the information below.


    llilllllll Real property
    54. Does the debtor own or lease any real property?

    Official Form 206A/B                                      Schedule A/B Assets - Real and Personal Property                                                page 2
                 Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                Desc
                                                            Main Document    Page 22 of 49

Debtor               Megna Temecula Country Inn, Inc.                                         Case number /If known)    _ _ __ _ __ _ _ __ _ __
                     Name


     D     No. Go to Part 10.
     ■ Yes Fill in the information below.

55.             Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

                Description and location of              Nature and          Net book value of         Valuation method used   Current value of
                property                                 extent of           debtor's interest         for current value       debtor's interest
                Include street address or other          debtor's interest   (Where available)
                description such as Assessor             in property
                Parcel Number (APN), and type
                of property (for example,
                acreage, factory, warehouse ,
                apartment or office building , if
                available .
                55.1. Single Family
                        Residence located at:
                        41300 Berkswell
                        Lane
                        Temecula, CA 92592               Fee simple
                           APN: 951-070-017              (100%)                              $0.00     Zillow, Trulia                  $3,100,000.00




56 .            Total of Part 9.                                                                                                     $3,100,000.00
                Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
                Copy the total to line 88 .

    57.          Is a depreciation schedule available for any of the property listed in Part 9?
                 ■ No
                 D   Yes

    58.          Has any of the property listed in Part 9 been appraised by a professional within the last year?
                 ■ No
                 D   Yes

-                    Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      ■ No . Go to Part 11 .
      D       Yes Fill in the information below.


lilillllll All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

          D   No. Go to Part 12.
          ■ Yes Fill in the information below.

                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


    71.          Notes receivable
                 Description (include name of obligor)

    72.          Tax refunds and unused net operating losses (NOLs)
                 Description (for example, federal , state, local)

    73.          Interests in insurance policies or annuities

    74.          Causes of action against third parties (whether or not a lawsuit
                 has been filed)


    Official Form 206A/B                                     Schedule A/B Assets - Real and Personal Property                                      page 3
         Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                         Desc
                                                    Main Document    Page 23 of 49

Debtor       Megna Temecula Country Inn, Inc.                                      Case number {If known)   _ _ _ _ _ _ _ __ __   _   _
             Name


         Megna Temecula Country Inn, Inc. v. Center Street
         Lending VIII SPE, LLC, et al.
         Case No: CVSW2302442                                                                                              Unknown
         Nature of claim         Injunction
         Amount requested                           $0.00



75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership


78.      Total of Part 11.                                                                                                   $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ■ No
         D   Yes




Official Form 206A/B                                Schedule A/8 Assets - Real and Personal Property                              page 4
            Case 1:23-bk-10843-VK                                    Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                     Desc
                                                                     Main Document    Page 24 of 49

Debtor          Megna Temecula Country Inn, Inc.                                                                       Case number        (If known) _ __   _ _ _ _ _ _ _ _ __
                Name



- . _ _ s _ u_m
              _ m_a_ry_ __ _ _ __ __ _ _ __ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ __ _ _ _ __

In Part 12 copy all of the totals from the earlier parts of the form
     Type of property                                                                                  Current value of                     Current value of real
                                                                                                       personal property                    property

80.    Cash, cash equivalents, and financial assets.
       Copy line 5, Part 1                                                                                              $1,127.30

 81.   Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85.   Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures , and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $1,700.00

 87.   Machinery, equipment, and vehicles. Copy line 51 , Part 8.                                                              $0.00

 88.   Real property. Copy line 56, Part 9..... .......... .... ................................................................... >                        $3,100,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                              $0.00

 90. All other assets . Copy line 78, Part 11 .                                                    +                            $0.00

 91 . Total. Add lines 80 through 90 for each column                                                                  $2,827.30         I+ 91b.             $3,100,000.00


 92. Total of all property on Schedule A/8 . Add lines 91 a+91 b=92                                                                                                 $3,102,827.30




 Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                          page 5
               Case 1:23-bk-10843-VK                              Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                             Desc
                                                                  Main Document    Page 25 of 49

Fill in this information to identify the case:

Debtor name             Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the :              CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                         D     Check if this is an
                                                                                                                                               amended filing


Official Form 2060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible .
1. Do any creditors have claims secured by debtor's property?

       D    No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form .

       ■ Yes. Fill in all of the information below.
■ @IM List Creditors Who Have Secured Claims
                                                                                                                     Column A                     Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim .                                                                 Amount of claim              Value of collateral
                                                                                                                                                  that supports this
                                                                                                                     Do not deduct the value      claim
                                                                                                                     of collateral.
        Center Street Lending VIII
 2.1                                                                                                                      $6,582,107.87              $3,100,000.00
        SPE,LLC                                         Describe debtor's property that is subject to a lien
        Creditor's Name                                 Single Family Residence located at:
                                                        41300 Berkswell Lane
        18301 Von Karman Ave.,                          Temecula, CA 92592
        Ste. 330                                        APN: 951-070-017
        Irvine, CA 92612-0124
        Creditors mailing address                       Describe the lien
                                                        Trust Deed (cross-collateralized with other
                                                        property)
                                                        Is the creditor an insider or related party?

                                                        ■    No
         Creditor's email address, if known             D Yes
                                                        Is anyone else liable on this claim?
         Date debt was incurred                         □ No
         09/17/2021                                     ■ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         Last 4 digits of account number
           5994
           Do multiple creditors have an                As of the petition filing date, the claim is:
           interest in the same property?               Check all that apply
           0   No                                       D Contingent
           ■ Yes . Specify each creditor,               D Unliquidated
           including this creditor and its relative     ■ Disputed
           priority.
           1. Riverside County Tax
           Collector
           2. Center Street Lending
           VIII SPE, LLC

           Riverside County Tax
 22                                                                                                                             $54,866.00            $3,100,000.00
  ·        Collector                                    Describe debtor's property that is subject to a lien
           Creditors Name                               Single Family Residence located at:
                                                        41300 Berkswell Lane
                                                        Temecula, CA 92592
           P.O. Box 12005                               APN: 951-070-017
           Riverside, CA 92502-2205
           Creditors mailing address                    Describe the lien
                                                        Tax Lien
                                                        Is the creditor an insider or related party?

                                                         ■   No
           Creditor's email address, if known           D Yes
 Official Form 2060                                   Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
           Case 1:23-bk-10843-VK                          Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                 Desc
                                                          Main Document    Page 26 of 49

Debtor      Megna Temecula Country Inn, Inc.                                                     Case number      (if known}
            Name
                                                 Is anyone else liable on this claim?
      Date debt was incurred                     ■   No
      03/2022                                    D Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3013
      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
      □ No                                       D Contingent
      ■ Yes. Specify each creditor,              D Unliquidated
      including this creditor and its relative   D Disputed
      priority.
      Specified on line 2.1


                                                                                                                               $6,636,973.8
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                           7

■ :ftifW List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above , and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page . If additional pages are needed , copy this page .
        Name and address                                                                                       On which line in Part 1 did        Last 4 digits of
                                                                                                               you enter the related creditor?    account number for
                                                                                                                                                  this entity
         1Sharpe Opportunity Intermediate Trust
         18301 Von Karman Ave., Ste 330                                                                       Line _b1_
         Irvine, CA 92612-0124

         Prestige Default Services, LLC
         1920 Old Tustin Ave.                                                                                 Line _b1_
         Santa Ana, CA 92705




 Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 2 of 2
            Case 1:23-bk-10843-VK                          Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                       Desc
                                                           Main Document    Page 27 of 49

Fill in this information to identify the case:

Debtor name        Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                            D      Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NON PRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim . Also list executory contracts on Schedule AIB: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G) . Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form .

•@IN List All Creditors with PRIORITY Unsecured Claims
    1. Do any creditors have priority unsecured claims? (See 11 U.S.C . § 507) .

        D   No. Go to Part 2.

        ■ Yes. Go to line 2.

     2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
        with priority unsecured claims , fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim            Priority amount

~ Priority creditor's name and mailing address                 As of the petition filing date, the claim is :                                      $0.00       $0.00
         Franchise Tax Board                                   Check all that apply.
         Bankruptcy Section MS A-340                           D Contingent
         P.O. Box 2952                                         D Unliquidated
         Sacramento, CA 95812-2952                             D Disputed
          Date or dates debt was incurred                      Basis for the claim :
                                                               Income taxes believed current; listed for
                                                               precautionary purposes only
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   ■   No
          unsecured claim: 11 U.S.C. § 507(a) (ll)
                                                                D Yes

~ Priority creditor's name and mailing address                  As of the petition filing date, the claim is :                                      $0.00      $0.00
          Internal Revenue Service                              Check all that apply.
          P.O. Box 7346                                         D Contingent
          Philadelphia, PA 19101-7346                           D Unliquidated
                                                                D Disputed
          Date or dates debt was incurred                       Basis for the claim:
                                                                Income taxes believed current; listed for
                                                                precautionary purposes only
          Last 4 digits of account number                       Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   ■   No
          unsecured claim : 11 U.S.C. § 507(a) (ll)
                                                                D Yes


1:tfifM List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with non priority unsecured claims . If the debtor has more than 6 creditors with non priority unsecured claims, fill
         out and attach the Additional Page of Part 2.




 Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 2
                                                                                                                 41147
           Case 1:23-bk-10843-VK                            Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                            Desc
                                                            Main Document    Page 28 of 49

Debtor      Megna Temecula Country Inn, Inc.                                                              Case number (it known)
            Name

~ Nonpriority creditor's name and mailing address                               As of the petition filing date, the claim is : Check all that apply.
                                                                                D Contingent
                                                                                D Unliquidated
         Date or dates debt was incurred
                                                                                D Disputed
         Last 4 digits of account number __
                                                                                Basis for the claim :

                                                                                Is the claim subject to offset?      D   No       D   Yes



J:ZitifM List Others to Be Notified About Unsecured Claims
4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies ,
  assignees of claims listed above , and attorneys fo r unsecured creditors .

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed , copy the next page.

         Name and mailing address                                                                         On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                          related creditor (if any) listed?                   account number, if
                                                                                                                                                              any

1:(fj(M Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                  Total of claim amounts
 Sa. Total claims from Part 1                                                                                 Sa .            $                            0.00
 Sb . Total claims from Part 2                                                                                Sb.    +        $                            0.00

 Sc . Total of Parts 1 and 2
      Lines Sa + Sb = Sc.                                                                                     Sc.         $                                  0.00
                                                                                                                                  --------------




 Official Form 206 E/F                                       Schedule E/F : Creditors Who Have Unsecured Claims                                                            Page 2 of 2
                Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                              Desc
                                                            Main Document    Page 29 of 49

Fill in this information to identify the case:

Debtor name            Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the :          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                       D   Check if this is an
                                                                                                                                           amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                        12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
           ■ No . Check this bo x and file this form with the debtor's other schedules . There is nothing else to re port on this form .
       D Yes . Fill in all of the information below even if the contacts of leases are listed on    Schedule A/B: Assets - Real and Personal                Property
(Official Form 206A/B) .

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.1           State what the contract or
               lease is for and the nature
               of the debtor's interest

                 State the term remaining

                List the contract number of
                 any government contract


     2.2        State what the contract or
                lease is for and the nature
                of the debtor's interest

                  State the term remaining

                 List the contract number of
                  any government contract


     2.3        State what the contract or
                lease is for and the nature
                of the debtor's interest

                  State the term remaining

                 List the contract number of
                  any government contract


     2.4        State what the contract or
                lease is for and the nature
                of the debtor's interest

                  State the term remaining

                 List the contract number of
                  any government contract




 Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
           Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                             Desc
                                                     Main Document    Page 30 of 49

Fill in this information to identify the case:

Debtor name       Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the :    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                             D   Check if this is an
                                                                                                                                 amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 D   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form .
 ■ Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors . In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed . If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                         Column 2: Creditor



            Name                        Mailing Address                                            Name                            Check all schedules
                                                                                                                                   that apply:

     2.1    Mahmud Ulkarim              8740 Winnetka Ave                                          Center Street                   ■ D   2.1
                                        Northridge, CA 91324                                       Lending VIII SPE,
                                                                                                                                   □ E/F
                                                                                                   LLC
                                                                                                                                   □ G




 Official Form 206H                                                       Schedule H: Your Codebtors                                             Page 1 of 1
          Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                            Desc
                                                    Main Document    Page 31 of 49




Fill in this information to identify the case:

Debtor name         Megna Temecula Country Inn, Inc.

United States Bankruptcy Court for the :   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                              □   Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question . If more space is needed, attach a separate sheet to this form . On the top of any additional pages,
write the debtor's name and case number (if known).

U@IMlncome

1. Gross revenue from business

     D   None.

     Identify the beginning and ending dates of the debtor's fiscal year,             Sources of revenue                          Gross revenue
     which may be a calendar year                                                     Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                           ■ Operating a business                                   $89,120.00
      From 1/01/2023 to Filing Date
                                                                                      D    Other



      For prior year:                                                                  ■ Operating a business                                 $216,000.00
      From 1/01/2022 to 12/31/2022
                                                                                       D   Other



      For year before that:                                                            ■ Operating a business                                 $202,512.00
      From 1/01/2021 to 12/31/2021
                                                                                       D   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable . Non-business income may include interest, dividends , money collected from lawsuits,
   and royalties . List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     ■ None.

                                                                                       Description of sources of revenue           Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

■ ilfifW List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation , within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7.575 . (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ■ None.

      Creditor's Name and Address                                  Dates                   Total amount of value       Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers , including expense reimbursements , made within 1 year before filing this case on debts owed to an insider or guaranteed

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
               Case 1:23-bk-10843-VK                    Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                               Desc
                                                        Main Document    Page 32 of 49
Debtor         Megna Temecula Country Inn, Inc.                                                  Case number    (it known)
                                                                                                                             - -- - -- - - - - - - - -


     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
     may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. Insiders include officers, directors , and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives ; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101 (31 ).

      ■ None.

       Insider's name and address                                    Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures , and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      ■ None

       Creditor's name and address                       Describe of the Property                                     Date                      Value of property


6.   Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
     debt.

       ■ None

       Creditor's name and address                       Description of the action creditor took                      Date action was                    Amount
                                                                                                                      taken

■ @fM Legal Actions or Assignments

7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity-within 1 year before filing this case .

       D None .
                Case title                               Nature of case               Court or agency's name and                Status of case
                Case number                                                           address
        7.1.    Megna Temecula Country Inn,              Violation of Civil           Riverside County Superior                 ■ Pending
                Inc. vs Center Street Lending            Code §§2923.5                Court                                     D   On appeal
                VIII SPE, LLC, et al.                    and 2923.7 and               41002 County Center Drive
                                                                                                                                D   Concluded
                CVSW2302442                              Business and                 #100
                                                         Professions Code             Temecula, CA 92591
                                                         §17200


8.    Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
      receiver, custodian , or other court-appointed officer within 1 year before filing this case.

       ■ None


■ @(M Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
      the gifts to that recipient is less than $1,000

       ■ None

                 Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


 ■ @fW Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case .

 Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                            Desc
                                                      Main Document    Page 33 of 49
Debtor     Megna Temecula Country Inn, Inc.                                                      Case number   /ii known)
                                                                                                                            - - - - - -- - - -- - --


     ■ None

     Description of the property lost and              Amount of payments received for the loss                  Dates of loss             Value of property
     how the loss occurred                                                                                                                              lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation , or
                                                       tort liability, list the total received .

                                                       List unpaid claims on Official Form 106NB (Schedule
                                                       A/8: Assets - Real and Personal Property) .

Uffl•M Certain Payments or Transfers
11 . Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
     of this case to another person or entity, including attorneys , that the debtor consulted about debt consolidation or restructuring , seeking bankruptcy
     relief, or filing a bankruptcy case .

     D   None.

               Who was paid or who received               If not money, describe any property transferred                Dates              Total amount or
               the transfer?                                                                                                                          value
               Address
      11.1 .   Donahoe Young & Williams
               LLP
               25152 Springfield Court, Ste.
               345
               Valencia, CA 91355-1081                    Attorney Fees (Includes $1,738 in costs)                                                 $6,178.00

               Email or website address
               myoung@dywlaw.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ■ None.

       Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                                were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale , trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs . Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


      ■ None.

               Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
               Address                                  payments received or debts paid in exchange                was made                           value

 ■ ittifM Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used .



      ■ Does not apply

                 Address                                                                                              Dates of occupancy
                                                                                                                      From-To

 Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
          Case 1:23-bk-10843-VK                          Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                           Desc
                                                         Main Document    Page 34 of 49
Debtor     Megna Temecula Country Inn, Inc.                                                        Case number    (if known)
                                                                                                                               - - - -- - - - -- - - --

■ iljjf:W Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical , psychiatric, drug treatment, or obstetric ca re?

     ■     No. Go to Part 9.
     D     Yes. Fill in the information below.


               Facility name and address                  Nature of the business operation, including type of services               If debtor provides meals
                                                          the debtor provides                                                        and housing, number of
                                                                                                                                     patients in debtor's care

■ :tii/W Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

     ■     No.
     D     Yes. State the nature of the information collected and retained .

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ■    No. Go to Part 10.
      D    Yes. Does the debtor serve as plan administrator?


1iljjf11M Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name , or for the debtor's benefit, closed , sold ,
    moved , or transferred?
    Include checking , savings , money market, or other financial accounts ; certificates of deposit; and shares in banks , credit unions, brokerage houses ,
    cooperatives, associations, and other financial institutions .

      ■ None
               Financial Institution name and              Last 4 digits of           Type of account or           Date account was               Last balance
               Address                                     account number             instrument                   closed, sold,              before closing or
                                                                                                                   moved, or                           transfer
                                                                                                                   transferred

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities , cash, or other valuables the debtor now has or did have within 1 year before filing thi s
     case.



      ■ None

       Depository institution name and address                  Names of anyone with                   Description of the contents              Does debtor
                                                                access to it                                                                    still have it?
                                                                Address

 20. Off-premises storage
     List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
     which the debtor does business.



      ■ None

       Facility name and address                                 Names of anyone with                  Description of the contents              Does debtor
                                                                 access to it                                                                   still have it?


 ■ :till ■ Property the Debtor Holds or Controls That the Debtor Does Not Own


 Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
           Case 1:23-bk-10843-VK                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                 Desc
                                                       Main Document    Page 35 of 49
Debtor      Megna Temecula Country Inn, Inc.                                                     Case number    (if known) _ __ __ _ _ _ _ _ _ __               _




21 . Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from , being stored for , or held in trust. Do
     not list leased or rented property.

    ■ None


iitfilfW Details About Environment Information
For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution , contamination , or hazardous material, regardless of the
      medium affected (air, land, water, or any other medium).

     Site means any location, facility , or property, including disposal sites, that the debtor now owns , operates , or utilizes or that the debtor formerly
     owned, operated, or utilized .

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance .

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ■    No .
      D    Yes . Provide details below.

      Case title                                              Court or agency name and              Nature of the case                            Status of case
      Case number                                             address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      ■    No.
      D    Yes. Provide details below.

       Site name and address                                  Governmental unit name and                Environmental law, if known               Date of notice
                                                              address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      ■     No .
      D     Yes . Provide details below.

       Site name and address                                  Governmental unit name and                 Environmental law, if known              Date of notice
                                                              address

iitfilEW Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules .

      ■ None

    Business name address                              Describe the nature of the business               Employer Identification number
                                                                                                         Do not include Social Security number or ITIN .

                                                                                                         Dates business existed

 26. Books, records, and financial statements
     26a . List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
           ■ None

       Name and address                                                                                                                   Date of service
                                                                                                                                          From-To

     26b. List all firms or individuals who have audited , compiled , or reviewed debtor's books of account and records or prepared a financial statement
 Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
           Case 1:23-bk-10843-VK                         Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                           Desc
                                                         Main Document    Page 36 of 49
Debtor      Megna Temecula Country Inn, Inc.                                                      Case number /ii known)
                                                                                                                           - - -- - - - - - - - --

          within 2 years before filing this case.

          D   None

     Name and address                                                                                                                 Date of service
                                                                                                                                      From-To
     26b.1.        Mahmud Ulkarim
                   8740 Winnetka Ave.
                   Northridge, CA 91324

   26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed .

          D    None

     Name and address                                                                                  If any books of account and records are
                                                                                                       unavailable, explain why
     26c.1.        Mahmud Ulkarim
                   8740 Winnetka Ave.
                   Northridge, CA 91324


   26d . List all financial institutions, creditors , and other parties, including mercantile and trade agencies , to whom the debtor issued a financial
         statement within 2 years before filing this case.

          ■ None

      Name and address

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case ?

     ■      No
     D      Yes. Give the details about the two most recent inventories .

               Name of the person who supervised the taking of the                     Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                        or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                          Address                                          Position and nature of any                % of interest, if
                                                                                                     interest                                  any
      Mahmud Ulkarim                                8740 Winnetka Ave.                               President                                 100
                                                    Northridge, CA 91324




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



     ■        No
     D        Yes . Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form , including salary, other compensation , draws , bonuses,
    loans, credits on loans , stock redemptions , and options exercised?

      ■       No
      D       Yes. Identify below.

                Name and address of recipient                 Amount of money or description and value of            Dates                 Reason for
                                                              property                                                                     providing the value

31 . Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
           Case 1:23-bk-10843-VK                     Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                        Desc
                                                     Main Document    Page 37 of 49
Debtor     Megna Temecula Country Inn, Inc.                                                    Case number    (if known)
                                                                                                                           - - - - - - - - - - -- -


     ■    No
     D    Yes . Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     ■     No
     D     Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund

■ ilfiltM Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     co nnection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years , or both.
     18 U.S.C. §§ 152, 1341 , 1519, and 3571 .

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 16, 2023

 See attached signature page                                    Mahmud Ulkarim
 Signature of individual signing on behalf of the debtor        Printed name

 Position or relationship to debtor   _P_re_s_i_d_e_n_t______________

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
D Yes




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
Case 1:23-bk-10843-VK   Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                      Desc
                        Main Document    Page      38 of 49 . . .. .
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              Case 1:23-bk-10843-VK                                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                       Desc
                                                                         Main Document    Page 39 of 49

B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                 Central District of California
 In re        Megna Temecula Country Inn, Inc.                                                                                                    Case No .
                                                                                                          Debtor(s)                               Chapter     11


                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.       Pursuant to 11 U .S. C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
         compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
         be rendered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:
                                                                                                                                              $    _____2_0~,0_0_0_.0_0_ (Pre-petition services
               For legal services, I have agreed to accept ···········-----·············································
                                                                                                                                                                         and retainer)
               Prior to the filing of thi s statement I have received .....................................................................   $           5,000.00
               Balance Due                                                                                                                    $               15,000.00
                                           -   - ------------······················- - - - -- -- - -·········--·--······-···

2.       $    1,738.00          of the filing fee has been paid.

3.       The source of the compensation paid to me was:

               ■ Debtor                  D      Other (specify):

4.       The source of compensation to be paid to me is:

               ■     Debtor              ■      Other (specify):               Guaranteed by Debtor's principal

5.        ■ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates ofmy law firm. A
              copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.        In return for the above-disclosed fee , I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
         b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         e.   [Other provisions as needed]
                   Chapter 11 representation pursuant to Legal Services Agreement dated June 12, 2023

7.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:


                                                                                              CERTIFICATYON
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

        June 16, 2023
        Date
                                                                                                           Signature ofAttorney
                                                                                                           Donahoe Young & Williams LLP
                                                                                                           25152 Springfield Court, Ste. 345
                                                                                                           Valencia, CA 91355-1081
                                                                                                           661-259-9000 Fax: 661-554-7088
                                                                                                           myoung@dywlaw.com
                                                                                                           Name of lmv firm
           Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                  Desc
                                                      Main Document    Page 40 of 49


statement Re!!ar d'me Assistance of No
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                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

 In re
                                                                                Case No.
 Megna Temecula Country Inn, Inc.
                                                                                Chapter 11



                                                                                         STATEMENT REGARDING ASSISTANCE OF
                                                                                            NON-ATTORNEY WITH RESPECT TO
                                                                                            THE FILING OF BANKRUPTCY CASE



THE DEBTOR/JOINT DEBTOR DOES HEREBY STATE AND REPRESENT:

D          I received assistance from a non-attorney in connection with the filing of my bankruptcy case.

           1.        I paid the sum of$_

           2.        I still owe the sum of$_

           3.         I agreed to turn over or give a security interest in the following property:


           4.        The name of the person or the name of the firm that assisted me was:

                      Name:

                      Address :

                      Telephone:

It]        I did not receive assistance from a non-attorney in connection with the filing of my bankruptcy case.


 I declare under penalty of perjury that the foregoing is true and correct.

 Executed at        _V_a_le_n_c_ia_ _ _ _ _ _ _ _ _ _ , California.

  Executed on :         June 16, 2023
                             Date

                                                                                               See attached signature page
                                                                                              Megna Temecula Country Inn, Inc.
                                                                                              Mahmud Ulkarim / President
         Case 1:23-bk-10843-VK                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                      Desc
                                                    Main Document    Page 41 of 49

Attorney or Party Name, Address , Telephone & FAX Nos.,                         FOR COURT USE ONLY
State Bar No. & Email Add ress
Mark T. Young
25152 Springfield Court, Ste. 345
Valencia, CA 91355-1081
661-259-9000 Fax: 661-554-7088
California State Bar Number: 89951 CA
myoung@dywlaw.com




□   Debtor(s) appearing without an attorney
■   Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                 CASE NO .:
            Megna Temecula Country Inn, Inc.
                                                                                 CHAPTER: 11




                                                                                                      VERIFICATION OF MASTER
                                                                                                     MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s) .

Pursuant to LBR 1007-1 (a) , the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case , consisting of _2_ sheet(s) is complete , correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: June 16, 2023                                                                         See attached sign ature page
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 Uoint debtor)) (if applicable)

 Date: June 16, 2023
                                                                                         Sign~                        ey for Debtor (if applicable)




                  Thi s form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of Californi a.
December 20 15                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
                                   Case 1:23-bk-10843-VK                                                                                Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                               Desc
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                   Case 1:23-bk-10843-VK                                                                                                       Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                                                                                   Desc
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Case 1:23-bk-10843-VK   Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20   Desc
                        Main Document    Page 44 of 49




                   Megna Temecula Country Inn, Inc.
                   8 7 4 0 Winnetka Ave
                   Northridge, CA 91324


                   Mark T. Young
                   Donahoe Young & Williams LLP
                   25152 Springfield Court, Ste. 345
                   Valencia, CA 91355-1081


                   Office of the US Trustee LA
                   915 Wilshire Boulevard
                   Suite 1850
                   Los Angeles, CA 90017
Case 1:23-bk-10843-VK   Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20   Desc
                        Main Document    Page 45 of 49




                   lSharpe Opportunity Intermediate Trust
                   18301 Von Karman Ave. , Ste 330
                   Irvine , CA 92612 - 0124


                   Center Street Lending VIII SPE , LLC
                   18301 Von Karman Ave ., Ste . 330
                   Irvine, CA 92612 - 0124


                   Franchise Tax Board
                   Bankruptcy Section MS A- 340
                   P . O. Box 2952
                   Sacramen to , CA 95812 - 2952


                   Internal Revenue Service
                   P. 0 . Box 7 34 6
                   Phi l adelphia , PA 19101-7346


                   Mahmud Ulkarim
                   8740 Winnetka Ave
                   Northridge , CA 91324


                   Prestige Default Services , LLC
                   1920 Old Tu stin Ave .
                   Santa Ana , CA 92705


                   Ri vers i de County Tax Collector
                   P . O . Box 12005
                   Rivers i de , CA 92502-2205
         Case 1:23-bk-10843-VK              Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                Desc
                                            Main Document    Page 46 of 49


                                        United States Bankruptcy Court
                                               Central District of California
 In re   Megna Temecula Country Inn, Inc.                                            Case No.
                                                            Debtor(s)                Chapter       11



         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION

       I, Mahmud Ulkarim, declare under penalty of perjury that I am the President of Megna Temecula Country Inn,
    and that the following is a trne and correct copy of the resolutions adopted by the Board of Directors of said
Inc. ,
corporation at a special meeting duly called and held on June 8, 2023.

      "Whereas, it is in the best interest of this corporation to file a voluntary petition in the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mahmud Ulkarim , President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Mahmud Ulkarim , President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Mahmud Ulkarim, President of this Corporation is authorized and directed to
employ Mark T. Young , attorney and the law firm of Donahoe Young & Williams LLP to represent the corporation in
such bankruptcy case."

 Date    June 16, 2023                                     Signed    See attached signature page
                                                                    Mahmud Ulkarim/ President
                      Case 1:23-bk-10843-VK                                                                                      Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                            Desc
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        Case 1:23-bk-10843-VK           Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                     Desc
                                        Main Document    Page 48 of 49


                                         Resolution of Board of Directors
                                                        of
                                          Megna Temecula Country Inn, Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Mahmud Ulkarim , President of this Corporation, is authorized and directed
to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary bankruptcy case on
behalf of the corporation; and

       Be It Further Resolved, that Mahmud Ulkarim , President of this Corporation is authorized and directed to
appear in all bankmptcy proceedings on behalf of the corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf of the corporation in connection with such
bankruptcy case, and

       Be It Further Resolved, that Mahmud Ulkarim , President of this Corporation is authorized and directed to
employ Mark T. Young , attorney and the law firm of Donahoe Young & Williams LLP to represent the corporation in
such bankruptcy case.

Date    June 16, 2023                                   Signed    See attached signature page
                                                                  Mahmud Ulkarim/ President and Sole Director


 Date                                                   Signed
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            Case 1:23-bk-10843-VK                                                    Doc 1 Filed 06/16/23 Entered 06/16/23 15:03:20                                                             Desc
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